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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
                                 WESTERN DIVISION

UNITED STATES OF AMERICA,                    )
                                             )
                        Plaintiff,           )
                                             )
                v.                           )          CR 21-579-DMG
                                             )
MATTHEW FUNKE,                               )
                                             )
                      Defendant.             )



                               DECLARATION OF PUBLICATION

       In accordance with 21 U.S.C. § 853(n)(1) and Rule 32.2(b)(6)(C) of the Federal Rules

of Criminal Procedure, notice of the forfeiture was posted on an official government internet site

(www.forfeiture.gov) for at least 30 consecutive days, beginning on May 05, 2022

and ending on June 03, 2022. (See, Attachment 1). Attachment 1 consists of a copy of the notice

on the www.forfeiture.gov website. Attachment 2 is a copy of the Advertisement Certification

Report, which documents that the notice was posted on the www.forfeiture.gov website for at

least 18 hours a day for the required 30 consecutive days.


       I declare under penalty of perjury that the foregoing is true and correct. Executed on

June 06, 2022 at Los Angeles, CA.




                                          Lisette Torres
                                          Records Examiner




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Attachment 1


                        UNITED STATES DISTRICT COURT
           FOR THE CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
             COURT CASE NUMBER: CR 21-579; NOTICE OF FORFEITURE

        Notice is hereby given that on April 22, 2022, in the case of U.S. v. MATTHEW
FUNKE, Court Case Number CR 21-579, the United States District Court for the Central
District of California entered an Order condemning and forfeiting the following property to
the United States of America:

       $137,544.00 U.S. Currency (20-CBP-000135) which was seized from Matthew
       Funke on February 07, 2020, located in Los Angeles, CA.

       The custodian of the property is Fines, Penalties, and Forfeitures, Department of
       Homeland Security, Bureau of Customs and Border Protection located at 301 East
       Ocean Boulevard, Suite 900, Long Beach, CA 90802.

        The United States hereby gives notice of its intent to dispose of the forfeited
property in such manner as the United States Attorney General may direct. Any person,
other than the defendant(s) in this case, claiming interest in the forfeited property must file
an ancillary petition within 60 days of the first date of publication (May 05, 2022) of this
Notice on this official government internet web site, pursuant to Rule 32.2 of the Federal
Rules of Criminal Procedure and 21 U.S.C. § 853(n)(1). The ancillary petition must be
filed with the Clerk of the Court, 255 East Temple Street, Room 180, Los Angeles, CA
90012, and a copy served upon Assistant United States Attorney DAN BOYLE, 312 N.
Spring St., 14th Floor, Los Angeles, CA 90012. The ancillary petition shall be signed by
the petitioner under penalty of perjury and shall set forth the nature and extent of the
petitioner's right, title or interest in the forfeited property, the time and circumstances of the
petitioner's acquisition of the right, title and interest in the forfeited property and any
additional facts supporting the petitioner's claim and the relief sought, pursuant to 21
U.S.C. § 853(n).

        Following the Court’s disposition of all ancillary petitions filed, or if no such petitions
are filed, following the expiration of the period specified above for the filing of such
ancillary petitions, the United States shall have clear title to the property and may warrant
good title to any subsequent purchaser or transferee.

        The government may also consider granting petitions for remission or mitigation,
which pardon all or part of the property from the forfeiture. A petition must include a
description of your interest in the property supported by documentation; include any facts
you believe justify the return of the property; and be signed under oath, subject to the
penalty of perjury, or meet the requirements of an unsworn statement under penalty of
perjury. See 28 U.S.C. Section 1746. For the regulations pertaining to remission or
mitigation of the forfeiture, see 28 C.F.R. Sections 9.1 - 9.9. The criteria for remission of
the forfeiture are found at 28 C.F.R. Section 9.5(a). The criteria for mitigation of the
forfeiture are found at 28 C.F.R. Section 9.5(b). The petition for remission need not be



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made in any particular form and may be filed online or in writing. You should file a petition
for remission not later than 11:59 PM EST 30 days after the date of final publication of this
notice. See 28 C.F.R. Section 9.3(a). The https://www.forfeiture.gov/FilingPetition.htm
website provides access to a standard petition for remission form that may be mailed and
the link to file a petition for remission online. If you cannot find the desired assets online,
you must file your petition for remission in writing by sending it to Assistant United States
Attorney DAN BOYLE, 312 N. Spring St., 14th Floor, Los Angeles, CA 90012. This
website provides answers to frequently asked questions (FAQs) about filing a petition for
remission. You may file both an ancillary petition with the court and a petition for
remission or mitigation.




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Attachment 2

                                 Advertisement Certification Report


The Notice of Publication was available on the www.forfeiture.gov web site for at least 18 hours per day
between May 5, 2022 and June 03, 2022. Below is a summary report that identifies the uptime for each
day within the publication period and reports the results of the web monitoring system’s daily check that
verifies that the advertisement was available each day.

U.S. v. MATTHEW FUNKE

Court Case No:              CR 21-579-DMG
For Asset ID(s):            See Attached Advertisement Copy

   Consecutive          Date Advertisement         Total Hours Web Site             Verification that
   Calendar Day          Appeared on the           was Available during              Advertisement
       Count                 Web Site                  Calendar Day                existed on Web Site
         1                   05/05/2022                      23.9                          Verified
         2                   05/06/2022                      23.8                          Verified
         3                   05/07/2022                      23.8                          Verified
         4                   05/08/2022                      23.9                          Verified
         5                   05/09/2022                      23.9                          Verified
         6                   05/10/2022                      23.9                          Verified
         7                   05/11/2022                      23.8                          Verified
         8                   05/12/2022                      23.9                          Verified
         9                   05/13/2022                      23.9                          Verified
        10                   05/14/2022                      23.8                          Verified
        11                   05/15/2022                      23.8                          Verified
        12                   05/16/2022                      23.9                          Verified
        13                   05/17/2022                      23.9                          Verified
        14                   05/18/2022                      23.9                          Verified
        15                   05/19/2022                      23.9                          Verified
        16                   05/20/2022                      23.9                          Verified
        17                   05/21/2022                      23.9                          Verified
        18                   05/22/2022                      23.9                          Verified
        19                   05/23/2022                      23.9                          Verified
        20                   05/24/2022                      23.9                          Verified
        21                   05/25/2022                      23.9                          Verified
        22                   05/26/2022                      23.9                          Verified
        23                   05/27/2022                      23.9                          Verified
        24                   05/28/2022                      23.9                          Verified
        25                   05/29/2022                      24.0                          Verified
        26                   05/30/2022                      23.9                          Verified
        27                   05/31/2022                      23.9                          Verified
        28                   06/01/2022                      23.9                          Verified
        29                   06/02/2022                      23.9                          Verified
        30                   06/03/2022                      23.9                          Verified
Additional log information is available and kept in the archives for 15 years after the asset has been disposed.




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